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                                   2                                    UNITED STATES DISTRICT COURT

                                   3                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   5     MATT JONES, et al.,                                 Case No. 22-cv-04486-BLF (SVK)
                                   6                     Plaintiffs,                         ORDER INSTRUCTING PARTIES RE
                                                                                             FUTURE SEALING MOTIONS
                                   7              v.
                                                                                             ASSOCIATED WITH DISCOVERY
                                   8     PGA TOUR, INC.,                                     MATTERS

                                   9                                                         ORDER DENYING WITHOUT
                                                        Defendant and                        PREJUDICE ADMINISTRATIVE
                                  10                    Counter-Plaintiff,                   MOTIONS FOR LEAVE TO FILE
                                                                                             UNDER SEAL
                                                  v.
                                  11
                                         LIV GOLF INC.,                                      Re: Dkt. Nos. 147, 165, 168, 170, 172, 176,
                                  12                                                         208, 215, 223, 229, and 235
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 United States District Court




                                                         Counter-Defendant.
                                  13

                                  14               ORDER INSTRUCTING PARTIES RE PROPOSED ORDERS ON FUTURE
                                                                   SEALING MOTIONS
                                  15
                                              The Court notes that the proposed order submitted with at least one of the pending
                                  16
                                       administrative motions to seal cites as a basis for sealing the fact that the information sought to be
                                  17
                                       sealed has been designated as protected material under the Protective Order in this case. See
                                  18
                                       Dkt. 170-2. However, designation of material under the Protective Order does not establish that
                                  19
                                       the material is sealable. Dkt. 111 (Protective Order) §§ I, XII(12.4); see also Civ. L.R. 79-5(c)
                                  20
                                       (“Reference to a stipulation or protective order that allows a party to designate certain documents
                                  21
                                       as confidential is not sufficient to establish that a document, or portions thereof, are sealable”).
                                  22
                                       Instead, a party seeking to file material under seal must establish that sealing is appropriate under
                                  23
                                       the applicable legal standards. See generally Civ. L.R. 79-5(c).
                                  24
                                              In addition, in the proposed orders on future sealing motions associated with discovery-
                                  25
                                       related filings, the Court requests that the party seeking to seal portions of a document identify the
                                  26
                                       page and line number of the portions sought to be sealed as specifically as possible (see, e.g.,
                                  27
                                       Dkt. 70-15) rather than simply referring generally to “Highlighted Portions” (see., e.g., Dkt. 170-
                                  28
                                   1   2).

                                   2             In light of these deficiencies and those described below, the Court directs the Parties to

                                   3   familiarize themselves with the sealing procedures in this District and to comply with Civil Local

                                   4   Rule 79-5 in future filings.

                                   5
                                               ORDER DENYING WITHOUT PREJUDICE ADMINISTRATIVE MOTIONS FOR
                                   6                    LEAVE TO FILE UNDER SEAL ASSOCIATED WITH
                                                               SUBPOENA-RELATED MOTIONS
                                   7

                                   8             Pending before the Court are several administrative motions to seal relating to the pending
                                   9   motion to compel and motion to quash subpoenas issued by PGA to third parties Public
                                  10   Investment Fund of the Kingdom of Saudi Arabia and Yasir O. Al-Ramayyan. See Dkt. 147, 165,
                                  11   168, 172, 208, 223, and 229. To address these motions efficiently and expeditiously, the Court
                                  12   orders the parties to these motions to file a joint chart summarizing the pending administrative
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                                  13   motions, in order of the Docket Number of the original sealing motion, as depicted below:
                                  14
                                        Dkt. Nos. of Original         Description of       Page and Line
                                  15                                                                                     Basis for Sealing
                                        Sealing Motion and            Document Sought to Numbers of Text
                                  16    Declaration/Statement         be Sealed, including Sought to be Sealed
                                        in Support of Sealing         Dkt. No. where
                                  17    submitted pursuant to         highlighted,
                                        Civ. L.R. 79(c)(1) or         unredacted
                                  18    79-5(f)(3)                    document is located
                                  19

                                  20             The parties to the subpoena-related motions shall file the requested chart by February 10,
                                  21   2023. Those parties shall also submit a Word version of the chart to the Courtroom Deputy:

                                  22   SvKCRD@cand.uscourts.gov.

                                  23             This Order terminates Docket Numbers 147, 165, 168, 172, 208, 223, and 229. The Court

                                  24   will issue an omnibus order addressing these sealing motions after it receives the joint chart

                                  25   described above and issues an order on the subpoena-related motions.

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                                          ORDER DENYING WITHOUT PREJUDICE ADMINISTRATIVE MOTIONS FOR
                                   1       LEAVE TO FILE UNDER SEAL ASSOCIATED WITH DISCOVERY DISPUTES
                                   2          Before the Court are administrative motions for leave to file under seal materials
                                   3   associated with discovery disputes in this case. Dkt. 170, 176, 215, and 235. Having considered
                                   4   the motions to seal, supporting declarations, and the pleadings on file, and good cause appearing,
                                   5   the Court DENIES the motions to seal without prejudice for the reasons discussed below.
                                   6              •   Dkt. 170: Defendant PGA Tour (“PGA”) filed this Administrative Motion to File
                                   7                  Under Seal and to Consider Whether Another Party’s Material Should Be Sealed
                                   8                  concerning (1) information designated under the Protective Order by PGA, and (2)
                                   9                  information designated under the Protective Order by third party PGA of America.
                                  10                  The motion is denied without prejudice, for two reasons. First, it does not comply
                                  11                  with Civil Local Rule 79-5(f)(5), which provides: “In the event a single document
                                  12                  contains various portions that more than one party bears the burden of showing is
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                                  13                  sealable, the filing party must file separate motions pursuant to 79-5(c) and 79-5(f)
                                  14                  as appropriate. Each party must then satisfy its own burden with respect to that
                                  15                  portion of the document that it seeks to seal.” Second, third party PGA of America
                                  16                  failed to file a statement and/or declaration demonstrating that the material it
                                  17                  designated under the Protective Order is sealable, as required under Civil Local
                                  18                  Rule 79-5(f)(3). By February 3, 2023, PGA shall file separate sealing motions
                                  19                  concerning the material that is the subject of Dkt. 170, as required under Civil
                                  20                  Local Rule 79-5(f)(5), and serve a copy of the applicable sealing motion and this
                                  21                  order on third party PGA of America, as well as the Parties to this action. If third
                                  22                  party PGA of America seeks to seal its designated material that is the subject of
                                  23                  Dkt. 170, it must thereafter timely file the statement and/or declaration required
                                  24                  under Civil Local Rule 79-5(f)(3). Failure to do so may result in an order unsealing
                                  25                  the material that is the subject of this sealing motion.
                                  26              •   Dkt. 176, 215, 235: Plaintiff LIV filed these Administrative Motions to Consider
                                  27                  Whether Another Party’s Material Should Be Sealed. Dkts. 176 and 235 concern
                                  28                  material designated under the Protective Order by PGA and by third party Augusta
                                                                                         3
                                   1                 National. Dkt. 215 concerns material designated under the Protective Order by

                                   2                 PGA. The designating parties have failed to file a statement and/or declaration

                                   3                 demonstrating that the material is sealable in connection with Dkts. 176 and 215, as

                                   4                 required under Civil Local Rule 79-5(f)(3). There is therefore no basis upon which

                                   5                 to seal the material that is the subject of these motions to seal. Although the

                                   6                 required statement/declaration in support of Dkt. 235 is not yet due, for the

                                   7                 convenience of the parties and the Court, the Court sua sponte grants a similar

                                   8                 extension for those materials. No later than February 10, 2023, any designating

                                   9                 party seeking to seal the information that is the subject of the sealing motions at

                                  10                 Dkt. 176, 215, and 235 must submit the statement and/or declaration required under

                                  11                 Civil Local Rule 79-5(f)(3). Failure to do so may result in an order unsealing the

                                  12                 material that is the subject of these sealing motions. Because the sealing motions at
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                                  13                 Dkt. 176 and 235 encompass material designated by third party Augusta National,

                                  14                 LIV is directed to serve Augusta National with a copy of this order by January 27,

                                  15                 2023.

                                  16          SO ORDERED.

                                  17   Dated: January 26, 2023

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                                                                                                   SUSAN VAN KEULEN
                                  20                                                               United States Magistrate Judge
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